           Case 3:13-cr-00160-AJB                       Document 69               Filed 03/20/13              PageID.187              Page 1 of 2


     fl;"AO 2458 (CASD) (Rev. 1112) Judgment in a Criminal Case
                Sheet 1



                                              UNITED STATES DISTRICT COU!tq-i"                                               20
                                                                                                                                                '.,   t ~.   ':


                                                   SOUTHERN DISTRlCT OF CALIFORNIA                                               i       .,"-- r .. "'" "
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMIN4L CASE
                                        v.                                         (For Offenses Committed On or After fovember 1,1987)"i

                      JUAN CARLOS CORONA (02)                                      Case Number: J3CROJ60-AJB-02
                                                                                    Matthew C. Binninger FD
                                                                                   Defendant's Attorney
    REGISTRATION NO. 35977298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) _T_w_o_o_f_t_he_In_fi_ormatt_·o_n
                                                         __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _""­ _ _ _ _ _ _ _ __

     D    was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~---------
          after a plea of not guilty.                                                                             ,
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):1
                                                                                                                                 I
                                                                                                                                             Count
    Title & Section                          Nature ofOtTense                                                                               Number(s)
8 USC 1324(a)(J)(A)(iv)                Inducing and Encouraging Illegal Aliens to Enter the United States                                             1




                                                                                                                                 I
                                                                                                         I,
        The defendant is sentenced as provided in pages 2 through _~2~_ of this judgment. The sentence i~ imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
                                                            ---------------------------~-------------
 D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the monon of the United States.
 ~ Assessment: $100.00 Within (30) days



  ~ Fine waived                                     D   Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ ~ included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any              of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. [f 0       to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumst




                                                                                                                                            13CRO160-AJB-02
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AO 245B (CASD) (Rev. 1!12)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                            Judgment ­   Pa~e _..;;2_ of     2
 DEFENDANT: JUAN CARLOS CORONA (02)                                                                        !



 CASE NUMBER: 13CR0160-AJB-02
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be im risoned for a term of
         TIME SERVED




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Da.m.    Op.m.   on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureliu of Prisons:
       o before -----------------------------------------------~-------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES         RSHAL


                                                                     By _ _ _ _ _~~~~==~~~~~~-----
                                                                                      DEPUTY UNITED STA        S MARSHAL




                                                                                                                    13CR0160-AJB-02
